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                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                             GREENVILLE DIVISION


IN RE:                                                 )
                                                       )
CAH ACQUISITION COMPANY #1,LLC d/b/a                   )      Case No. 19-00730-5-JNC
WASHINGTON COUNTY HOSPITAL,                            )
                                                       )              Chapter 11
                Debtor.                                )
                                                       )

          INITIAL APPLICATION BY SPILMAN THOMAS & BATTLE,PLLC
              AS COUNSEL FOR THE DEBTOR FOR ALLOWANCE OF
         INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES
                   [MARCH 13,2019 THROUGH JULY 31,20191

         The law firm of Spilman Thomas & Battle, PLLC ("Spilman" or the "Applicant"),

counsel for the Debtor in this case, pursuant to the provisions of the Bankruptcy Code and

Bankruptcy Rules, makes this initial application to the Court for approval, on an interim

basis, of attorneys' fees and reimbursement of expenses pursuant to §§ 330 and 331 of the

Bankruptcy Code, in connection with the services rendered by counsel to date in the course of

this Chapter 11 proceeding; and, in support of this application, shows the Court as follows:

       1.      On February 19, 2019(the "Petition Date"), this case was commenced with the

filing of an involuntary petition for relief under Chapter 7 of the Bankruptcy Code against

 CAH Acquisition Company #1, LLC d/b/a Washington County Hospital (the "Debtor")[Dkt.

 No. 001].

       2.      Thereafter, Spilman, as counsel for the debtors, filed in this bankruptcy court

(the "Court") voluntary Chapter 11 petitions for seven (7) affiliated hospital entities: CAH

 Acquisition Company #7, LLC d/b/a Prague Community Hospital (Case No. 19-1298); CAH
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 Acquisition Company #2, LLC d/b/a Oswego Community Hospital (Case No. 19-1230);

 CAH Acquisition Company #6, LLC d/b/a 1-70 Community Hospital (Case No. 19-1300);

CAH Acquisition Company #3, LLC d/b/a Horton Regional Hospital (Case No. 19-1180);

 CAH Acquisition Company #16, LLC d/b/a Haskell County Community Hospital (Case No.

 19-1227); CAH Acquisition Company #12, LLC d/b/a Fairfax Community Hospital (Case

No. 19-1697); and CAH Acquisition Company #4, LLC d/b/a Drumright Regional Hospital

(Case No. 19-1228)(collectively with the Debtor's case, the "CAH Cases").1

        3.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334, and the matter is a core proceeding under 28 U.S.C. § 157(b)(2). Venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.         On February 22, 2019, Thomas W. Waldrep, Jr. was appointed as the Chapter

1 1 trustee in the Debtor's case (the "Trustee") and continues to serve in that capacity.

        5.       On April 4, 2019, the Debtor filed a motion requesting authorization to employ

 the law firm of Spilman as counsel for the Debtor effective as of March 11, 2019 [Dkt. No.

 80], and the final order approving the same was entered on May 8, 2019 [Dkt. No. 205](the

 "Employment Order"). In paragraph 4 of the Employment Order, the Court authorized

 Spilman to provide certain services to the Debtor and the bankruptcy estate as are customary

 as counsel for the Debtor, but to also provide "additional representation of the Debtor or the

 Trustee as requested by the Trustee for discrete matters not otherwise handled by counsel for

 the Trustee."

        6.       On April 24, 2019, the Court entered its Order Granting Motion to File

  Applications for Compensation [Dkt. No. 180](the "Applications Order"), which authorized


1 The Drumright Community Hospital case has since been dismissed by the Court.

                                                      2
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 all professionals employed in the related CAH Cases to file applications for approval of

 compensation and reimbursement of expenses in each of the CAH Cases no more often than

 every sixty(60) days.

      7.      Since filing the petition, Spilman has incurred attorneys' fees and expenses

 assisting the Debtor with various professional services. The services rendered by Spilman

 have been extensive, and Spilman requests that the firm be allowed compensation for the

 services rendered on behalf ofthe Debtor.

      8.      Attached as Exhibit A is a "Summary of Services Rendered" in connection with

 this application, which sets forth for the time period described therein a summary of the

 professional services rendered by Spilman on behalf of the Debtor in connection with the

 administration of this proceeding. The summary sets forth with respect to each timekeeper the

 name of the individual, the individual's position, the hours expended, the hourly rate

 requested, and the total dollar amount requested. The summary further itemizes the expenses

 advanced for which reimbursement is sought.

      9.      Attached as Exhibit B is the "Detailed Statement of Services Rendered" by

 Spilman during the period covered by this application. Exhibit B sets forth with respect to

 such services the date that the services were performed, the timekeeper involved, the hours

 charged, the current interim rate, the interim amount, and a description of the service

 provided, or expense incurred. Exhibit B reflects post-petition services rendered by each

 attorney or support staff who provided services during the applicable period, the time spent,

 and the fee charged for services, billed at the attorney's or paralegal's hourly rate. Exhibit B

 also provides a summary of the expenses incurred by Spilman.




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       10.     Since this representation encompasses eight (8) hospital cases, certain services

 and descriptions were applicable to all of the debtors (often hearings, meetings, and travel that

 involved all of the cases). Those entries are followed by the notation: "(Work applicable to

 ALL CAH Hospitals)." For clarity and ease of review, those time entries have been

 summarized in one spreadsheet labeled "Services Applicable to All CAH Hospitals" (the "All

 CAH Spreadsheet"), a copy of which has been attached to each of the fee applications filed in

 the separate cases as part of Exhibit B. As notedf in each Exhibit B attached to the separate

 fee applications, each application includes one-eighth ofthe total amount offees and expenses

 reflected on the All CAH Spreadsheet.

       11.     With respect to certain services and in response to discussions with the

 Bankruptcy Administrator, Spilman has reduced the amount of time actually spent on some

 activities as being more time than normally expected for such services. For example, the sheer

 number of creditors (including employees of the hospitals) involved in these cases made

 compiling the mailing matrix for each case a much more cumbersome and time-consuming

 process than would normally be expected. Also, difficulties in obtaining from management

 complete information for the completion of the schedules and statements of financial affairs

 resulted in more-than-expected time for those services. Spilman has included a reasonable

 amount of time for those services, considering the somewhat unusual nature of these Chapter

 1 1 trustee cases.

       12.     Members of the law firm of Spilman have experience in the area of bankruptcy

 and corporate reorganization. Attached hereto as Exhibit C is the "Biographical Information"

 for each of the attorneys and support staff involved in providing legal services for the benefit

 ofthe Debtor in connection with this case, setting forth with respect thereto each timekeeper's



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 name, position in the firm, educational background, professional background, and relevant

 experience.

       13.     This application is submitted under the standard approved by this Court and

 other courts as set forth in § 330 of the Bankruptcy Code and Rule 2016(a) of the Federal

 Rules of Bankruptcy Procedure. These standards require the inclusion of a detailed statement

 ofservices rendered; the amounts requested; the times and rates for such services; whether the

 services were necessary to the administration of the case or beneficial at the time at which the

 service was rendered to the completion of the case; whether the services were performed

 within a reasonable amount of time commensurate with the complexity, importance, and

 nature of the problem, issue, or task addressed; whether the Spilman attorneys are board

 certified or otherwise have demonstrated skill and experience in the bankruptcy field; and

 whether the compensation is reasonable based on the customary compensation charged by

 comparably skilled practitioners in cases other than cases under this title.

       14.     All the services for which compensation is requested were performed on behalf

 of the Debtor and not on behalf of the Trustee, creditors, equity interests, or other persons,

 except as to any services requested by the Trustee pursuant to paragraph 4 of the Employment

 Order.

       15.     Spilman requests that the Bankruptcy Court allow interim compensation for

 services rendered and reimbursement of expenses as set forth in the attached Exhibits.

       16.     Further, in accordance with the Applications Order, Spilman requests that it be

 allowed to apply for and receive interim compensation hereafter for successive sixty (60) day

 periods, at the hourly rates as shown on the attached Exhibits or as may be subsequently

 approved by the Court; that Spilman be permitted to also apply for reimbursement of



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 expenses billed at the actual costs incurred; that such applications be filed and served upon the

 Bankruptcy Administrator and any other parties in interest in accordance with any order of the

 Court limiting notices in the CAH Cases; that the Clerk provide notice of such applications to

 all interested parties and set forth the opportunity for hearing with respect thereto by filing

 written objection on or before a date certain, and if no objection is filed, that any hearing on

 the application be waived and the application submitted to the Court for approval, with

 payment to be made by the Debtor upon receipt of written notice from the Clerk.

       17.      Spilman has incurred post-petition fees in the amount of $12,413.50, attributable

 to this case only(CAH Acquisition Company #1, LLC d/b/a Washington County Hospital),

 as well as $10,127.23 (which is one-eighth of the total fees [$81,017.81] and actual expenses

 incurred [$3,057.31], applicable to all eight (8) hospitals as explained in paragraph 10 and

 summarized in the Services Applicable to All CAH Hospitals spreadsheet), for a total of

 $22,540.73, for the period set forth in this application, as detailed on the attached Exhibit B.

           WHEREFORE,Spilman requests that the Court enter an order granting the following

 relief:

           A.    Allowing interim compensation to Spilman, as counsel for the Debtor, for interim

 compensation in the total amount of $22,540.73 for fees and expenses, for the period of March

 13, 2019 through July 31, 2019;

           B.    Allowing Spilman to apply for and receive interim compensation hereafter for

 successive sixty (60) day periods after July 31, 2019, at the hourly rates as shown on the

 attached Exhibits, or at such rates as may be subsequently approved by the Bankruptcy Court;

 and

           C.     Such other relief as the Court may deem necessary and proper.



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      Dated: September 17, 2019.


                                   SPILMAN THOMAS & BATTLE,PLLC


                                   /s/Rayford K Adams III
                                   Rayford K. Adams III(NC State Bar No. 8622)
                                    110 Oakwood Drive, Suite 500
                                   Winston-Salem, NC 27103
                                   Telephone: 336-725-4710
                                   Telefax: 336-725-4710
                                   Email: tadams@spilmanlaw.com
                                   Attorneyfor the Debtor




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                                            Exhibit A

                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION


 IN RE:                                                   )
                                      )
 CAH ACQUISITION COMPANY #1,LLC d/b/a )                               Case No. 19-00730-5-JNC
 WASHINGTON COUNTY HOSPITAL,          )
                                      )                                Chapter 11
          Debtor.                     )
                                      )

SUMMARY OF SERVICES RENDERED / APPLICATION FOR COMPENSATION AND
  REIMBURSEMENT OF EXPENSES BY SPILMAN THOMAS & BATTLE,PLLC

        From March 13, 2019 through July 31, 2019, the undersigned firm performed professional
services for the above-named bankruptcy estate in the capacity of the Debtor's counsel. Attached
to this application as Exhibit B is a detailed itemization of time expended and expenses incurred
in the performance ofthese professional services.

                   NAME                  TITLE            HOURS       RATE          TOTAL

             Rayford K. Adams III   Attorney, Member          9.5     $550.00       $5,225.00

              Dawnielle Y. Grace    Attorney, Associate       9.70    $200.00    $1,940.00

               Thomas E. Walls          Law Clerk             1.60    $125.00       $200.00

              Katherine A. Brewer       Paralegal             35.10   $115.00       $4,036.50

              Christy S. Peterson       Paralegal             5.50    $115.00       $632.50

               Kimberly L. Jones         Paralegal            1.30    $115.00       $149.50

              Cecelia E. Stemple         Paralegal             2.0    $115.00       $230.00

             Subtotal Requested:                                                $12,413.50

            Fees and Expenses Applicable to all CAH hospitals(Ye oftotal)       $10,127.23

            TOTAL FEES AND EXPENSES                                             $22,540.73




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         I certify that the information contained in this application is true and accurate and
that the application complies with the Bankruptcy Court's Chapter 11 fee guidelines currently
in effect.
        Dated: September 17, 2019.


                                      SPILMAN THOMAS & BATTLE,PLLC

                                      /s/Rayford K Adams HI
                                      Rayford K. Adams III(NC State Bar No. 8622)
                                      110 Oakwood Drive, Suite 500
                                      Winston-Salem, NC 27103
                                      Telephone: 336-725-4710
                                      Telefax: 336-725-4476
                                      tadams@spilmanlaw.com
                                      Attorneyfor the Debtor




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                                         Exhibit B

                      UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                            GREENVILLE DIVISION


IN RE:                                                  )
                                                        )
CAH ACQUISITION COMPANY #1, LLC d/b/a                   )        Case No. 19-00730-5-JNC
WASHINGTON COUNTY HOSPITAL,                             )
                                                        )              Chapter 11
               Debtor.                                  )
                                                        )

               DETAILED STATEMENT OF SERVICES RENDERED BY
                     SPILMAN THOMAS & BATTLE,PLLC


         Attached hereto is a detailed itemization of time expended and expenses incurred by
 Spilman Thomas & Battle, PLLC in the performance of professional services as counsel for
 the Debtor.




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                                    Exhibit B Attachment: Washington
    Date              Name                                      Description                                Hours      Amount

 3/13/2019   Adams III, Rayford K.    Review and revise Notice of Appearance in Washington County          0.30         $165.00
                                      case.
 3/13/2019   Adams III, Rayford K.    Attend telephonic status conference with Judge Callaway and          1.00         $550.00
                                      others regarding status of Washington County case and
                                      anticipated additional filings(.2); telephone conference with Noel
                                      Mijares regarding filing details (.6); e-mails to Noel Mijares and
                                      others regarding status of information for filing and request for
                                      summary narrative. (.2)
 3/14/2019   Adams III, Rayford K.    Review and revise motions and proposed orders from Jennifer          1.50         $825.00
                                      Lyday regarding trustee appointment in Horton and conversion
                                      and trustee appointment in Washington County (1.4); Final review
                                      of notice of appearance in Washington County case. (.1) (Split
                                      Time Entry).
 3/14/2019   Brewer, Katherine A.     Washington: Finalize and file motion to convert case to Chapter      0.60          $69.00
                                      1 1 and service of same on group as setout by the trustee.
 3/19/2019   Adams III, Rayford K•    Review status of latest e-mails regarding VPN service and            0,90         $495.00
                                      operating issues.
 3/19/2019   Brewer, Katherine A.     Review request for Washington top 20 creditors, Form 204, by the     0.30          $34.50
                                      Court, access necessary information, and coordinate entry of
                                      same into Best Case.
 3/20/2019   Brewer, Katherine A.     Receipt of UCCs on all facilities; review UCCs for Washington        0.40          $46.00
                                      Hospital to determine secured creditors
 3/20/2019   Brewer, Katherine A.     Receipt and review of secured proof of claim filed in Washington     0.30          $34.50
                                      matter by App Group International and review client's outstanding
                                      accounts payable(.2); e-mail to Trip Adams regarding no
                                      information regarding this substantial claim(.1).
 3/27/2019   Adams III, Rayford K     Finalize application and order to employ; discussions with Kathy     0.80         $440.00
                                      Brewer regarding same.
  4/2/2019   Adams III, Rayford K     Review draft of application to employ STB in Washington County       0.30         $165.00
                                      case
  4/4/2019   Adams III, Rayford K     Final review of application to employ STB in Washington County       0.30         $165.00
                                      case.
  4/4/2019   Adams III, Rayford K     Discussions with Kathy Brewer and Christy Peterson regarding         1.00         $550.00
                                      various administrative matters, application to employ in
                                      Washington County, and finalizing motion to change venue.
 4/15/2019   Peterson, Christy S.     Washington - Prepare mailing matrix to serve Order Continuing        2.50         $287.50
                                      341 Creditor's meeting on all creditors.(Time was reduced from
                                      9.5 hours)
 4/16/2019   Peterson, Christy S.     Washington - Continuing preparation of mailing label matrix          0.80          $92.00
 4/16/2019   Peterson, Christy S.     Pull and review docket for order granting motion to continue 341     0.70          $80.50
                                      creditor's meeting to serve on all creditors
 4/19/2019   Adams III, Rayford K     Revise R. 2016 Disclosure of Compensation document.                  1.10         $605.00
 4/25/2019   Brewer, Katherine A.     Begin reviewing proofs of claim filed in Washington matter to        1.30         $149.50
                                      compare against information provided by client.
  5/7/2019   Grace, Dawnielle Y.      Washington County Hospital: Reviewed bank statements, general        5.30        $1,060.00
                                      ledgers, balance sheets, financial reports, contracts and leases
                                      for schedules.
  5/7/2019   Brewer, Katherine A.     Review and analysis of depreciation Schedules, inventory lists,      0.60           $69.00
                                      bank statements, contracts and aging AP lists received from
                                      Jenny Upeneikis for Washington County Hospital for preparation
                                      of schedules.
  5/7/2019   Peterson, Christy S.     Washington - Prepare and file Consent Order Allowing                 1.50         $172.50
                                      Employment of Spilman as Bankruptcy Counsel, Amended
                                      Affidavit of Rayford Adams and Disclosure of Compensation.
  5/7/2019   Brewer, Katherine A.     Begin preparation of Schedules.                                      0.50           $57.50
  5/7/2019   Grace, Dawnielle Y.      Engaged in multiple e-mails and phone conferences with client        1.20          $240.00
                                      contacts and firm staff(.5); reviewed information and Schedules
                                      and directed support staff on specifics with filling Schedules and
                                      the statement of financial affairs(.7).
  5/8/2019   Adams III, Rayford K     Conference call with Melanie Perry(CEO at Washington County           1.00         $550.00
                                      Hospital) regarding information to complete Schedules (with
                                      Kathy Brewer, Dawnielle Grace, and John Van Swearingen [by
                                       rth rinall
  5/8/2019   Grace, Dawnielle Y.       Washington: Prepared list of questions regarding Schedules and       1.00         $200.00
                                       statement of financial affairs.
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  5/8/2019   Stemple, Cecelia E.     Washington County Hospital. Title search to locate properties          2.00        $230.00
                                     owned and any open Deeds of Trust.
  5/8/2019   Brewer, Katherine A.    Washington: Meeting with Dawnielle Grace to discuss items for          2.90        $333.50
                                     discussion and information needed in advance of teleconference
                                     with Melanie Perry(.5); teleconference with Melanie Perry
                                     regarding information needed for completion of Schedules(1.0);
                                     follow-up e-mail outlining information needed as discussed(.5);
                                     edit Washigton Schedules(.9).
  5/8/2019   Grace, Dawnielle Y.     Conference call with Trustee representative John Von                   1.00        $200.00
                                     Swearingen and representative Melanie Perry, CEO of
                                     Washington for fact finding regarding Schedules and statement of
                                     financial affairs,
  5/9/2019   Adams III, Rayford K.   Telephone conference with Austin McMullen regarding HPCG               0.20        $110.00
                                     loan balance and real estate information.
  5/9/2019   Adams III, Rayford K.   Voicemail and e-mail to Austin McMullen (counsel for HPCG)             0.20        $110.00
                                     regarding request for loan balance information.
  5/9/2019   Adams III, Rayford K.   Review letter from counsel for HPCG and attached loan                  0.70        $385.00
                                     documents. (Split Time Entry).
  5/9/2019   Brewer, Katherine A.    Washington: Scan and send Schedules to Jorge Perez and team            0.20         $23.00
                                     for review and revisions.
  5/9/2019   Brewer, Katherine A.    Washington: Perform redactions of bank account and patient             2.50        $287.50
                                     claim reference numbers to bank statements for attaching to
                                     SOFA.
  5/9/2019   Brewer, Katherine A.    Washington: Receipt and brief review of additional documentation       0.30         $34.50
                                     received for Washington Schedules.
  5/9/2019   Grace, Dawnielle Y.     Document and contract review for Washington Statement of               0.40         $80.00
                                     Financial Affairs.
  5/9/2019   Brewer, Katherine A.    Telephone call with Ernesto Fesser regarding edits and changes         0.80         $92.00
                                     to Schedules.
  5/9/2019   Brewer, Katherine A.    Review and edits to Schedules.                                         1.80        $207.00
  5/9/2019   Brewer, Katherine A.    Scan and send revised Schedules to client for reviewing and            0.20         $23.00
                                     signing.
 5/10/2019   Brewer, Katherine A.    Washington: Continue to perform redactions to bank account             2.00        $230.00
                                     statements and coordinate assistance with same.
 5/10/2019   Jones, Kimberly L.      Washington: Redact bank account statements.                            1.30        $149.50
 5/10/2019   Brewer, Katherine A.    Double check redactions and organize bank statements for               0.50         $57.50
                                     attachment to SOFA.
 5/14/2019   Adams III, Rayford K.   Review e-mails from Margie Lynch and Lisa Payne regarding              0.20        $110.00
                                     show cause orders and hearing on Thursday. (Split Time Entry;
                                     Work applicable to Washington and Horton Hospitals).
 5/15/2019   Brewer, Katherine A.    Washington: Finalize and file Schedules, SOFA, declaration, and        1.80        $207.00
                                     bank statements.
 5/15/2019   Grace, Dawnielle Y.     Washington: Schedules and Statement of Financial Affairs quality       0.50        $100.00
                                     check in preparation for filing.
 5/16/2019   Grace, Dawnielle Y.     Review Debtor's response to order show cause for Horton and            0.30         $60.00
                                     Washington, draft certificate of service etc. (Split Time Entry;
                                     Work applicable to Washington and Horton Hospitals).
 5/17/2019   Brewer, Katherine A.    Washington: E-mails and telephone call with Jenny Gorman               0.40         $46.00
                                     regarding differences in matrix and Schedules
 5/17/2019   Brewer, Katherine A.    E-mail to Terri Gardner to determine source of initial creditor list   1.00        $115.00
                                     and follow-up phone call with her assistant regarding same(.4);
                                     begin review of original matrix against our creditor list(.6).
 5/20/2019   Brewer, Katherine A.    Washington: Work through compiling list for additions to matrix        2.10        $241.50
                                     and phone call with court case manager regarding same(1.0);
                                     perform due diligence for new address for previously returned
                                     mail(.5); coordinate service of amended matrix and 341 notice
                                     with servicing agency when amendment is filed(.6).
 5/21/2019   Brewer, Katherine A.    Washington: Communications with Court regarding amended                1.80        $207.00
                                     matrices, finalize creditor additions to matrix; upload amended
                                     matrix.
 5/21/2019   Brewer, Katherine A.    Washington: Complete filing of Summary of Schedules and                0.10         $11.50
                                     corporate resolution.
 5/22/2019   Brewer, Katherine A.    Washington: Receipt and review of certificate of service for           0.30         $34.50
                                     service of the 341 notices on newly added parties and address
                                     changes and file same with the Court.
 5/29/2019   Brewer, Katherine A.    Washington: Review returned mail and update forwarding                 0.40         $46.00
                                     addresses via CM/ECF(.2); prepare new mailing for returned
                                     mail(.2).
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       6/3/2019         Brewer, Katherine A.   Review conflicts information to confirm employee of Washington           0.30           $34.50
                                               with same name as client is not a conflict and respond to
                                               requesting attorney.
       6/4/2019         Brewer, Katherine A.   E-mail from Jenny Gorman regarding adding empoloyees to                  3.70          $425.50
                                               schedule; (.2) review employee list and creation of csv file for
                                               sending to BestCase to import into matter (1.3); add secured
                                               creditors pursuant to information received from Jenny.(2.2)
       6/5/2019         Brewer, Katherine A.   Receive and review of e-mail received from Jenny Gorman                  0.10           $11.50
                                               regarding additional creditors to be added based on UCC
                                               searches.
       6/5/2019         Brewer, Katherine A.   Review documentation on HPCG matter to determine where                   0.40           $46.00
                                                notice is still needed; add HPCG to Washington; mail 341 notice;
                                                prepare and file certificate of service.
       6/5/2019         Brewer, Katherine A.   Add employees/creditors to case through CM/ECF; coordinate               0.60           $69.00
                                               service of 341 notice on added creditors; download and file
                                               Amended Matrix.
       6/5/2019         Walls, Thomas E.        Reviewed merchant cash advance loan documents and listed the            0.80          $100.00
                                                HAC hospitals in which the loan documents granted the lender a
                                               security interest in case of default.
       6/6/2019         Brewer, Katherine A.    Review of invalid UCC's received from Trustee; discussion with          1.10          $126.50
                                               Trip Adams regarding same and the need to add the MCA
                                                lenders.
       6/6/2019         Walls, Thomas E.        Reviewed merchant cash advance loan documents and listed the            0.30           $37.50
                                                HAC hospitals in which the loan documents granted the lender a
                                               security interest in case of default.
       6/10/2019        Brewer, Katherine A.   Add UCC creditors and additional listed debtors into Schedule D;         5.60          $644.00
                                               (1.5) add MCA lenders and related parties to Schedules D and H;
                                               (1.5) prepare list of additional parties and addresses for noticing
                                                and adding to matrix.(2.6)
       6/12/2019        Walls, Thomas E.        Compiled security interest information from merchant cash               0.50           $62.50
                                                advance lending documents.
       6/17/2019        Brewer, Katherine A.    Receipt of proof of mailing 341 notice to added creditors; (.1) file    0.20           $23.00
                                               certificate of service with the court (.1)

                                                                            Total Fees                                 64.70        $12,413.50



Timekeeper Summary

         Name              Timekeeper Title                                   Hours                                     Rate          Amount

Adams Ill, Rayford K.           Member                                         9.50                                    $550.00       $5,225.00
Grace, Dawnielle Y.            Associate                                       9.70                                    $200.00       $1,940.00
Brewer, Katherine A.           Paralegal                                       35.10                                   $115.00       $4,036.50
Jones, Kimberly L.             Paralegal                                        1.30                                   $115.00         $149.50
Peterson, Christy S.           Paralegal                                       5.50                                    $115.00         $632.50
Stemple, Cecelia E.            Paralegal                                        2.00                                   $115.00         $230.00
Walls, Thomas E.               Law Clerk                                        1.60                                   $125.00         $200.00
                                 Total                                         64.70                                                $12,413.50
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                       Exhibit B Attachment: Services Applicable to All CAH Hospitals
  Date                 Name                                          Description                                 Hours    8mount
3/13/2019   Brewer, Katherine A.     Receipt of Information concerning management companies to be added           1.70    $195.50
                                     to each petition review of documents received from client to determine
                                     information on receivers for various hospitals and email with client
                                     regarding need for additional information. (Work applicable to ALL HAC
                                     Hospitals).
3/13/2019   Adams III, Rayford K.    Telephone conference with Tom Waldrep regarding general filing status       1.00     $550.00
                                     and strategy for first day motions and status conference with Judge
                                     Callaway. (Work applicable to ALL CAH Hospitals).
3/14/2019   Adams III, Rayford K.    Telephone conferences with Kathy Brewer regarding filing timing and         0.20     $110.00
                                     logistics. (Work applicable to ALL CAH Hospitals).
3/14/2019   Adams III, Rayford K.    Review and reply to e-mail from Pam McAfee regarding orders in both         0.90     $495.00
                                     cases (.2); discussions with Kathy Brewer regarding revisions to order
                                    (.2); e-mail exchanges with Pam McAfee and Will Curtis regarding entry
                                     of Orders.(.5) (Work applicable to ALL CAH Hospitals).

3/14/2019   Adams III, Rayford K.   E-mail exchanges with Tom Waldrep and Margie Lynch regarding status          0.30     $165.00
                                    of additional filings.(Work applicable to ALL CAH Hospitals).

3/14/2019   Adams III, Rayford K.    Review status of filings. (Work applicable to ALL CAH Hospitals).           0.60     $330.00
3/15/2019   Adams III, Rayford K.    Discussion with Kathy Brewer regarding status of petitions for filing; e-   1.00     $550.00
                                     mail to Pam McAfee, Margie Lynch, and Tom Waldrep regarding filing
                                     status. (Work applicable to ALL CAH Hospitals).
3/15/2019   Brewer, Katherine A.     Receipt and review of Notice of Meeting of Creditors, order for             0.40      $46.00
                                    examination, and order regarding administration of estate. (Work
                                    applicable to ALL CAH Hospitals).
3/15/2019   Adams III, Rayford K.    Numerous e-mails and telephone conferences with Noel Mijares, Jorge         0.40     $220.00
                                    Perez, Tom Waldrep and others regarding status of filing next petitions.
                                    (Work applicable to ALL CAH Hospitals).
3/16/2019   Adams III, Rayford K.    Telephone conference with Kathy Brewer regarding filing the Petitions       0.30     $165.00
                                    today; e-mail to CAH parties regarding filings. (Work applicable to ALL
                                     CAH Hospitals).
3/16/2019   Adams III, Rayford K.    E-mail exchange with Noel Mijares regarding creditor inquiry. (Work         0.40     $220.00
                                    applicable to ALL CAH Hospitals).
3/17/2019   Adams III, Rayford K.    Review status of filing issues and e-mail exchanges with Jorge Perez.       0.50     $275.00
                                    (Work applicable to ALL CAH Hospitals),
3/18/2019   Brewer, Katherine A.     Follow-up request to client for additional receiver documents and           0.30      $34.50
                                     information and re-review of documents to confirm information still
                                     needed. (Work applicable to ALL CAH Hospitals).
3/18/2019   Adams III, Rayford K.    Telephone conference with Noel Mijares regarding status of payroll          0.30     $165.00
                                     information, (Work applicable to ALL CAH Hospitals).
3/18/2019   Adams III, Rayford K.    E-mail exchange with CAH parties regarding getting complete information     0.20     $110.00
                                     on receivership documents.(Work applicable to ALL CAH Hospitals).

3/19/2019   Adams III, Rayford K.   Numerous e-mails regarding status of cases (.6); Discussions with Kathy      1.00     $550.00
                                    Brewer regarding additional filings, schedules for Washington County,
                                    and needed information from Noel Mijares regarding payroll, receivership
                                    documents, and secured lender documents.(.4)(Work applicable to ALL
                                    CAH Hospitals).
3/19/2019   Adams III, Rayford K.   E-mail to all parties regarding cooperation needed in case. (Work            0.30     $165.00
                                    applicable to ALL CAH Hospitals).
3/19/2019   Adams III, Rayford K.   Telephone conference with Paul Nusbaum and Steve White regarding             0.50     $275.00
                                    cost reports and other matters. (Work applicable to ALL CAN Hospitals).

3/19/2019   Brewer, Katherine A.    Receipt and review of deficiency notice for returned mail and begin          1.10     $126.50
                                    researching corrected addresses for same. (Work applicable to ALL
                                    CAH Hospitals).
3/19/2019   Adams III, Rayford K.   Conference call with Tom Waldrep, Frank Smith, Jason Hendren, and            2.10    $1,155.00
                                    Rebecca Redwine regarding background, strategy, and division of work
                                    for all cases (1.2); Review various emails from parties (.5); e-mail
                                    exchange with Jennifer Lyday regarding payroll motion. (.4) (Work
                                    applicable to ALL CAH Hospitals).
3/20/2019   Brewer, Katherine A.    Review outstanding requests for information regarding information on         0.10      $11.50
                                    secured debts and follow up e-mail with client regarding same. (Work
                                    applicable to ALL CAH Hospitals).
3/21/2019   Adams III, Rayford K.   Discussion with Kathy Brewer regarding filed cases and motions for           0.50     $275.00
                                    appointment of trustees. (Work applicable to ALL CAH Hospitals).

3/21/2019   Adams III, Rayford K.    Review information from Michael Murtha regarding background of              1.00     $550.00
                                     companies (.2); telephone conference with Tom Waldrep regarding
                                     operational issues with iHealthcare and Empower (.2); e-mail to and
                                     telephone conference with Paul Nusbaum regarding management issues
                                    (.3); telephone conference with Frank Smith regarding same (.2); e-mail
                                     to Tom Waldrep regarding arranging conference call with Noel Mijares
                                     regarding hospital management issues.(.1) (Work applicable to ALL
                                     CAH Hospitals).
3/22/2019   Adams III, Rayford K.    Review CAH narrative and other documents. (Work applicable to ALL            1.20    $660.00
                                     CAH Hospitals).
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3/22/2019    Adams III, Rayford K.    Conference call with Tom Waldrep, Jason Hendren, Noel Mijares(and           0.70     $385.00
                                      other lawyers for trustee) regarding background from Noel Mijares on
                                      management capabilities of iHealthcare and Empower and issues related
                                      to authorization to file petition.(Work applicable to ALL CAH Hospitals).

3/22/2019    Adams Ill, Rayford K.    Review pleadings filed yesterday in all cases.(Work applicable to ALL       0.50     $275.00
                                      CAH Hospitals).
3/22/2019    Adams III, Rayford K.    E-mail exchange with lawyers regarding conference call (.6); telephone      1.30     $715.00
                                      conference with Nick Zluticky (counsel for First Liberty)(.3); e-mall
                                      exchange with Jason Hendren regarding resolution.(.4) (Work
                                      applicable to ALL CAH Hospitals).
3/25/2019    Adams III, Rayford K.    Review numerous e-mails regarding rescheduling hearings set for             0.50     $275.00
                                      Wednesday. (Work applicable to ALL CAH Hospitals).
3/25/2019    Macia, Alexander         Review and analyze, then comment, on cases regarding minority owners        0.70     $332.50
                                      and right to file bankruptcy. (Work applicable to ALL CAH Hospitals).

3/25/2019    Adams Ill, Rayford K.    Discussion with Lindsay Cook regarding research on LLC authorization to     1.50     $825.00
                                      file bankruptcy (.2); review cases on the issue from Frank Smith (.8);
                                      discussion with Lindsay Cook regarding research and factual
                                      background.(.5) (Work C44applicable to ALL CAH Hospitals).

3/28/2019    Adams Ill, Rayford K.    Travel to and from Greenville. (Work applicable to ALL CAH Hospitals;       2.00     $550.00
                                      Reduced by One-Half).
3/28/2019    Adams Ill, Rayford K.    Attend hearings on several matters, including motion to dismiss filed in    5.30   $2,915.00
                                      Fairfax case, (Work applicable to ALL CAH Hospitals).
3/28/2019   Adams Ill, Rayford K.     Prepare for hearing in Greenville. (Work applicable to ALL CAH              2.40   $1,320.00
                                      Hospitals).
3/28/2019   Adams Ill, Rayford K.     Discussions with Paul Nusbaum regarding hearing (during travel to           0.40     $220.00
                                      Greenville). (Work applicable to ALL CAH Hospitals).
3/29/2019   Adams Ill, Rayford K.     Telephone conference with Jorge Perez regarding contract for IT access      1.00     $550.00
                                      to datav (.7); telephone conference with Tom Waldrep regarding data
                                      access contract.(.3) (Work applicable to ALL CAH Hospitals).

3/29/2019   Adams Ill, Rayford K.     Review status of Schedules, motion to extend time to file Schedules,        0.40     $220.00
                                      applications to employ, and master matrix. (Work applicable to ALL CAH
                                      Hospitals).
4/1/2019    Adams III, Rayford K.     Conference with Kathy Brewer and Christy Peterson regarding next            0.50     $275.00
                                      activities needed (master matrix, Schedule deadline extension,
                                      applications to employ, etc.). (Work applicable to ALL CAH Hospitals).

4/2/2019    Adams III, Rayford K.    E-mail to Noel Mijares and Jorge Perez regarding Information for             0.30    $165.00
                                     Schedules. (Work applicable to ALL CAH Hospitals).
4/2/2019    Brewer, Katherine A.     Review of e-mails from Court regarding returned mail, research for any       0.40      $46.00
                                     core group returned mail, and give instructions regarding same.(Work
                                     applicable to ALL CAH Hospitals).
4/2/2019    Adams Ill, Rayford K.    Discussion with Kathy Brewer regarding pending motions to file and           0.30    $165.00
                                     notices from the Court regarding addresses. (Work applicable to ALL
                                     CAH Hospitals).
4/2/2019    Cook, Lindsay J.         CAH Cases - Joint Administration Procedure Research. (Work                   2.00    $450.00
                                     applicable to ALL CAH Hospitals).
4/2/2019    Adams Ill, Rayford K.    Review a-mails form Noel Mijares regarding VPN issue (.2); telephone         0.60    $330.00
                                     conference with Noel Mijares, Tom Waldrep, and Jennifer Lyday
                                     regarding VPN contract, cost reports, tax returns, motion to change
                                     venue on other cases, and related administrative matters.(.4)(Work
                                     applicable to ALL CAH Hospitals).

4/2/2019    Adams III, Rayford K.    Review and sign applications and affidavits to employ Spilman in cases.      0.60    $330.00
                                     (Work applicable to ALL CAH Hospitals).
4/2/2019    Adams Ill, Rayford K.    Telephone conference with Noel Mijares regarding preparation of              0.40    $220.00
                                     Schedules and SOFAs for all cases.(Work applicable to ALL CAH
                                     Hospitals).
4/3/2019    Cook, Lindsay J.         Research FRBP 1014 regarding "affiliate."(Work applicable to ALL CAH         1.00    $225.00
                                     Hospitals).
4/3/2019    Adams Ill, Rayford K.    Review preservation letter from the trustee (.3); e-mail letter to Debtor    0.70    $385.00
                                     representatives.(.4) (Work applicable to ALL CAH Hospitals),


4/4/2019    Adams Ill, Rayford K.     Review and revise draft of motion to shorten time for hearing on motion     2.80   $1,540.00
                                     to change venue; discussions with Kathy Brewer regarding filing of
                                      motions and certificates of service for venue motion and motion to
                                     shorten time; telephone conference with Margie Lynch regarding status of
                                     cases, venue motion, filing of Schedules, rescheduling of 341 meeting.
                                     (Work applicable to ALL CAH Hospitals).

4/4/2019    Adams Ill, Rayford K.    E-mail to Tom Waldrep and others regarding motions to dismiss;               0.50    $275.00
                                     telephone conference with Tom Waldrep regarding new motions to
                                     dismiss. (Work applicable to ALL CAH Hospitals).
4/5/2019    Adams Ill, Rayford K.    Review and revise draft of motion to extend time to file Schedules. (Work    0.70    $385.00
                                     applicable to ALL CAH Hospitals).
4/5/2019    Adams Ill, Rayford K.    Discussion with Lindsay Cook regarding withdrawal of Prague motion and       0.40    $220.00
                                     response to Drumright motion to dismiss. (Work applicable to ALL CAH
                                     Hospitals).
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4/5/2019    Adams II I, Rayford K.   Discussion with Kathy Brewer regarding status of filings and order             0.50   $275.00
                                     shortening time (.2); review and revise order shortening time for hearing
                                     on venue motion.(.3) (Work applicable to ALL CAH Hospitals).

4/5/2019    Adams III, Rayford K.    Review e-mails from Jim Lanik and Frank Smith regarding documents              0.50   $275.00
                                     and DIP lending. (Work applicable to ALL CAH Hospitals).

4/5/2019    Adams III, Rayford K.    Telephone conference with Margie Lynch regarding division of work              0.50   $275.00
                                     among attorneys and order setting out the agreed division (.2); e-mail to
                                     Tom Waldrep regarding division of attorney duties.(.3)(Work applicable
                                     to ALL CAH Hospitals).
4/5/2019    Adams III, Rayford K.    E-mails with Tom Waldrep and others regarding call with DIP lender             0.20   $110.00
                                     contact from Frank Smith. (Work applicable to ALL CAH Hospitals).

4/8/2019    Adams Ill, Rayford K.    Review status of all matters for this week (.3);'Discussion with Kathy         0.80   $440.00
                                     Brewer and Christy Peterson regarding coordinating pleadings, service
                                     issues, and completing Schedules,(.5) (Work applicable to ALL CAH
                                     Hospitals).
4/8/2019    Adams III, Rayford K.    E-mail to client parties and trustee regarding coordination of completion      0.50   $275.00
                                     of Schedules and SOFAs and rescheduling 341 meetings (.2); e-mail to
                                     client parties regarding completion of Schedules (.2); e-mail to client
                                     parties regarding hearings on Wednesday.(.1)(Work applicable to ALL
                                     CAH Hospitals).
4/8/2019    Adams III, Rayford K.    Review and revise motion to extend time to file Schedules. (Work               1.50   $825.00
                                     applicable to ALL CAH Hospitals).
4/8/2019    Adams III, Rayford K.    Finalize motion to extend time to file Schedules and SOFAs(Work                1.00   $550.00
                                     applicable to ALL CAH Hospitals).
4/8/2019    Adams III, Rayford K.    Review and revise affidavits of Paul Nusbaum and Frank Smith (.4);             1.00   $550.00
                                     several telephone conferences with Paul Nusbaum regarding his affidavit
                                     and background information.(.6)(Work applicable to ALL CAH
                                     Hospitals).
4/11/2019   Brewer, Katherine A.     Prepare initial draft of motion to continue 341 hearings and forward to Trip   0.80    $92.00
                                     Adams for review. (Work applicable to ALL CAH Hospitals).

4/11/2019   Adams III, Rayford K.     Telephone conference with Noel Mijares regarding outcome of hearing           0.40   $220.00
                                      and IT issues. (Work applicable to ALL CAH Hospitals).
4/15/2019   Adams III, Rayford K.     Review and revise motion to continue 341 meetings. (Work applicable to        0.60   $330.00
                                      ALL CAH Hospitals).
4/15/2019   Adams III, Rayford K.     E-mail to CAH parties regarding the need to get copies of all loan            0.20   $110.00
                                      documents from secured creditors. (Work applicable to ALL CAH
                                      Hospitals).
4/15/2019   Adams Ill, Rayford K.     E-mail to Margie Lynch and others regarding motion to continue 341            0.20   $110.00
                                      meetings; e-mail to parties regarding continuance of 341 meetings.
                                     (Work applicable to ALL CAH Hospitals).
4/15/2019   Adams III, Rayford K.     Discussion with Kathy Brewer regarding motion to continue 341 meeting         0.70   $385.00
                                     (.3); review e-mail from Margie Lynch regarding 341 meeting and
                                      extension of time to file Schedules (.2); telephone conference with Margie
                                      Lynch regarding 341 meeting date.(.2)(Work applicable to ALL CAH
                                      Hospitals).
4/15/2019   Brewer, Katherine A.      Prepare all creditors mailing in anticipation of newly issued 341 notices.    4.30   $494.50
                                     (Work applicable to ALL CAH Hospitals).
4/15/2019   Adams III, Rayford K.     Discussion with Kathy Brewer and Christy Peterson regarding service           0.20   $110.00
                                      issues. (Work applicable to ALL CAH Hospitals).
4/15/2019   Adams III, Rayford K.     Telephone conference with Tom Waldrep and Jim Lanik regarding 341             0.30   $165.00
                                      meetings and secured creditor documents. (Work applicable to ALL CAH
                                      Hospitals).
4/15/2019   Adams III, Rayford K.     Telephone conference with Paul Nusbaum regarding meeting with Tom             0.80   $440.00
                                      Waldrep and JP Cournoyer on Friday. (Work applicable to ALL CAH
                                      Hospitals).
4/15/2019   Adams III, Rayford K.     Voicemail to Frank Smith regarding loan documents for secured claims.         0.10    $55.00
                                     (Work applicable to ALL CAH Hospitals).
4/16/2019   Adams III, Rayford K.     Discussions with Christy Peterson regarding status and service of orders      0.30   $165.00
                                      continuing the 341 meetings for all CAH cases(Work applicable to ALL
                                      CAH Hospitals).
4/16/2019   Adams III, Rayford K.    Conference call with CAH and trustee parties regarding information             1.00   $550.00
                                     needed for Schedules and secured creditor information. (Work
                                     applicable to ALL CAH Hospitals).
4/16/2019   Adams III, Rayford K.    E-mail exchange with Jim Lanik regarding access to ShareFile. (Work            0.20   $110.00
                                     applicable to ALL CAH Hospitals).
4/16/2019   Adams III, Rayford K.    Telephone conferences with Paul Nusbaum, Jorge Perez, and Noel                 1.00   $550.00
                                     Mijares regarding access to data and logistical issues with completing
                                     Schedules.(Work applicable to ALL CAH Hospitals).
4/17/2019   Adams III, Rayford K.    Review e-mails from CAH parties regarding status of case and                   0.10    $55.00
                                     scheduling of meeting.(Work applicable to ALL CAH Hospitals).
4/17/2019   Adams III, Rayford K.    Review draft of order on Spilman employment.(Work applicable to ALL            0.50   $275.00
                                     CAH Hospitals).
4/17/2019   Adams III, Rayford K.    Telephone conference with Paul Nusbaum regarding status of meeting             0.40   $220.00
                                     with trustee. (Work applicable to ALL CAH Hospitals).
4/17/2019   Adams Ill, Rayford K.    Travel to Raleigh and return to Winston-Salem.(Travel reduced by one-          3.50   $962.50
                                     half; Work applicable to ALL CAH Hospitals).
4/17/2019   Adams III, Rayford K.    Review and revise draft of consent order for employment of Spilman in          1.20   $660.00
                                     the bankruptcy cases (.9); e-mail redline of order to parties. (.3) (Work
                                     applicable to ALL CAH Hospitals).
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4/17/2019   Adams III, Rayford K.    Review certificates of service and discussion with Christy Peterson.           0.50   $275.00
                                    (Work applicable to ALL CAH Hospitals).
4/17/2019   Adams III, Rayford K.   Attend 341 meetings (at request of BA)(continued to 5/17). (Work                0.50   $275.00
                                    applicable to ALL CAH Hospitals).
4/17/2019   Adams III, Rayford K.   Telephone conference with Tom Waldrep and Jennifer Lyday regarding              0.30   $165.00
                                     management companies, Tuesday status conferences, and general
                                    strategy in cases. (Work applicable to ALL CAH Hospitals).

4/17/2019   Adams III, Rayford K.    Review matters related to entry of orders on rescheduling 341 meetings.        0.10    $55.00
                                    (Work applicable to ALL CAH Hospitals).
4/17/2019   Adams III, Rayford K.    Discussion with Margie Lynch regarding order on STB employment and             0.20   $110.00
                                     pending issues in the bankruptcy cases. (Work applicable to ALL CAH
                                     Hospitals).
4/18/2019   Adams III, Rayford K.   Telephone conference with Paul Nusbaum regarding application to                 0.30   $165.00
                                    employ, and meeting with trustee. (Work applicable to ALL CAH
                                     Hospitals).
4/18/2019   Adams III, Rayford K.    Review and revise proposed consent order on STB employment; e-mail             0.20   $110.00
                                     redline of consent order to Margie Lynch. (Work applicable to ALL CAH
                                     Hospitals).
4/18/2019   Adams III, Rayford K.    Review e-mails regarding meeting with trustee and Paul Nusbaum on              0.20   $110.00
                                     May 2.(Work applicable to ALL CAH Hospitals).
4/19/2019   Cook, Lindsay J.         Call with Noel regarding CAH debtor Schedules and statement of                 0.40    $90.00
                                    financial affairs; document requests regarding same.(Work applicable to
                                     ALL CAH Hospitals).
4/19/2019   Adams III, Rayford K.    Review status of consent order on application to employ Spilman. (Work         0.50   $275.00
                                     applicable to ALL CAH Hospitals).
4/19/2019   Cook, Lindsay J.         Meeting with Trip Adams regarding CAH debtor Schedules and                     1.20   $270.00
                                    statement of financial affairs (.6); document requests re same,(.6) (Work
                                     applicable to ALL CAH Hospitals).

4/19/2019   Cook, Lindsay J.         Call with Jim Lanik regarding CAH debtor Schedules and statement of            0.20    $45.00
                                    financial affairs; document requests regarding same.(Work applicable to
                                     ALL CAH Hospitals).
4/19/2019   Adams III, Rayford K.    Meeting with Christy Peterson, Dawnielle Grace, and Lindsay Cook               0.60   $330.00
                                     regarding coordinating efforts for completion of the Schedules. (Work
                                     applicable to ALL CAH Hospitals).
4/19/2019   Adams III, Rayford K.    Telephone conference with Noel Mijares (with Dawnielle Grace and               0.40   $220.00
                                     Lindsay Cook) regarding information for the Schedules and SOFAs.
                                    (Work applicable to ALL CAH Hospitals).
4/19/2019   Adams III, Rayford K.    Telephone conference with Jim Lanik regarding status of cases and              0.20   $110.00
                                     information received from Noel Mijares. (Work applicable to ALL CAH
                                     Hospitals).
4/19/2019   Adams III, Rayford K.    Review and revise affidavit for application to employ. (Work applicable to     0.80   $440.00
                                     ALL CAH Hospitals).
4/19/2019   Adams III, Rayford K.    Review status of cases in prep for hearing next Tuesday. (Work                 0.40   $220.00
                                     applicable to ALL CAH Hospitals).
4/22/2019   Grace, Dawnielle Y.      Spoke with Noel Mijares and sent follow-up e-mail of request for Hospital      0.20    $40.00
                                     contact information. (Work applicable to ALL CAH Hospitals).

4/22/2019   Grace, Dawnielle Y.      Met with Lindsay Cook, Katherine Brewer, and Christy Peterson                  0.20    $40.00
                                     regarding Bankruptcy status and plan of action. (Work applicable to ALL
                                     CAH Hospitals).
4/22/2019   Grace, Dawnielle Y.      Review e-mails sent to clients regarding Schedule and Statement of             0.70   $140.00
                                     Financial Affairs requirements in preparation to send a follow-up request
                                    (.3); discussion with Katherine Brewer regarding Schedules and required
                                     documents.(.4)(Work applicable to ALL CAH Hospitals).

4/23/2019   Cook, Lindsay J.        Check in with regarding next steps CAH debtor Schedules and statement           0.30    $67.50
                                    of financial affairs; follow-up calls with designated point of contact for
                                    debtor hospitals. (Work applicable to ALL CAH Hospitals).

4/23/2019   Grace, Dawnielle Y.      Read and replied to Client's return e-mail; discussed client's e-mail, which   0.60   $120.00
                                     included a primary contact and additional hospital related information with
                                     Spilman Bankruptcy Team. (Work applicable to ALL CAH Hospitals).

4/23/2019   Adams III, Rayford K.    Attend hearing on CAH cases(by telephone). (Work applicable to ALL             1.30   $715.00
                                     CAH Hospitals).
4/23/2019   Adams III, Rayford K.    E-mail exchange with Kathy Brewer regarding Schedules and                      0,50   $275.00
                                     rescheduling of hearings on applications to employ.(Work applicable to
                                     ALL CAH Hospitals).
4/24/2019   Adams III, Rayford K.    Telephone conference with Jorge Perez and JT Lander regarding                  1.00   $550.00
                                     information for Schedules. (Work applicable to ALL CAH Hospitals).

4/24/2019   Adams III, Rayford K.    Review e-mails regarding status of preparation of the Schedules (.6);          1.20   $660.00
                                    conference call with Dawnielle Grace, Kathy Brewer, and Christy
                                    Peterson regarding status of information for Schedules and SOFAs.(.6)
                                    (Work applicable to ALL CAH Hospitals).
4/24/2019   Grace, Dawnielle Y.     Call with Trip Adams, Katherine Brewer, and Christy Peterson to discuss         0.60   $120.00
                                     latest correspondence with client and next steps. (Work applicable to
                                    ALL CAH Hospitals).
4/25/2019   Brewer, Katherine A.     Prepare second motion to extend deadline to file Schedules and forward         0.60    $69.00
                                    same to Trip Adams for review and revision. (Work applicable to ALL
                                    CAH Hospitals).
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4/25/2019   Adams III, Rayford K.    E-mail to Court parties regarding non-appearance at today's hearing.           0.40    $220.00
                                     (Work applicable to ALL CAH Hospitals).
4/26/2019   Adams III, Rayford K.    Telephone conference with Kathy Brewer regarding motion to extend              0.20    $110.00
                                      deadline to file Schedules. (Work applicable to ALL CAH Hospitals).

4/26/2019   Brewer, Katherine A.      Finalize and file Second Motion to Extend Deadline for filing Schedules.      0.30     $34.50
                                     (Work applicable to ALL CAH Hospitals).
4/30/2019   Adams III, Rayford K.     Telephone conference with Jim Lanik regarding status of data retrieval        0.20    $110.00
                                     from hospital servers in Kansas City. (Work applicable to ALL CAH
                                      Hospitals).
4/30/2019   Adams III, Rayford K.    Telephone conference with Paul Nusbaum regarding confirmation of               0.20    $110.00
                                      meeting on Thursday and status of pending issues. (Work applicable to
                                      ALL CAH Hospitals).
5/1/2019    Adams III, Rayford K.     Review status of information needed for Schedules. (Work applicable to        1.20    $660.00
                                      ALL CAH Hospitals).
5/1/2019    Adams III, Rayford K.     Review and revise consent order on employment, 2016 disclosure, and           1.00    $550.00
                                      affidavit. (Work applicable to ALL CAH Hospitals).

5/1/2019    Adams III, Rayford K.     Review issues related to preparation of Schedules and SOFAs. (Work            0.80    $440.00
                                     applicable to ALL CAH Hospitals).
5/1/2019    Grace, Dawnielle Y.       E-mail and spreadsheet review regarding potential data for use in filing      0.60    $120.00
                                     out the Schedules; discussion with case personnel regarding items
                                      needed; preparation for team meeting on 5/2/2019 regarding the case.
                                     (Work applicable to ALL CAH Hospitals).
5/1/2019    Adams III, Rayford K.     E-mail regarding CAH meeting tomorrow (.5); telephone conference with         0.80    $440.00
                                      Frank Smith regarding meeting and general status of pending matters.
                                     (.3)(Work applicable to ALL CAH Hospitals).

5/2/2019    Grace, Dawnielle Y.      Conference call with Jenni Upenieks regarding retrieving financial data for    0.80    $160.00
                                     Schedules. (Work applicable to ALL CAH Hospitals).
5/2/2019    Grace, Dawnielle Y.      Meeting with Bankruptcy Trustee, Paul Nausbaum, Steve White, and               6.30   $1,260.00
                                     others to discuss the history of the suit, individuals with whom we should
                                     communicate, strategy and next steps. (Work applicable to ALL CAH
                                     Hospitals)(No Charge)
5/2/2019    Adams III, Rayford K.    Telephone conference with Jenni Upenieks and Dawnielle Grace                   1.00    $550.00
                                     regarding obtaining documents and information for preparing the
                                     Schedules and SOFAs. (Work applicable to ALL CAH Hospitals).
5/2/2019    Adams III, Rayford K.     Meeting with trustee, Paul Nusbaum, Steve White, and others regarding         6.30   $3,465.00
                                     background of the hospitals and strategy for going forward in the cases;
                                     follow-up discussion with Dawnielle Grace regarding Schedule
                                     preparation.(Work applicable to ALL CAH Hospitals).

5/2/2019    Adams III, Rayford K.    E-mail exchange with Margie Lynch regarding consent order on                   0.20    $110.00
                                     employment; review e-mail from John Van Swearingen regarding bank
                                     account records. (Work applicable to ALL CAH Hospitals).
5/3/2019    Grace, Dawnielle Y.      Debriefed support staff on the updates and case notes discovered at            0.90    $180.00
                                     meeting and devised a plan of action to timely file. (Work applicable to
                                     ALL CAH Hospitals).
5/3/2019    Adams III, Rayford K.    Meeting with Dawnielle Grace, Lindsay Cook, Kathy Brewer, and Christy          0.30    $165.00
                                     Peterson regarding organizing receipt and processing of information for
                                     the Schedules. (Work applicable to ALL CAH Hospitals).

5/3/2019    Cook, Lindsay J.          All matters: check in meeting re asset Schedules. (Work applicable to         1.00    $225.00
                                      ALL CAH Hospitals).
            Adams III, Rayford K.     Review status of employment order and revised affidavit and disclosure.       0.60    $330.00
                                     (Work applicable to ALL CAH Hospitals).
5/3/2019    Adams III, Rayford K.    Telephone conference with Tom Waldrep regarding conversation with              0.20    $110.00
                                      Jenni Upenleks and access to information and documents. (Work
                                     applicable to ALL CAH Hospitals).
5/3/2019    Adams III, Rayford K.     Complete e-mail to Jenni Upenieks regarding getting information for the       0.50    $275.00
                                     Schedules; Voicemail from and telephone conference with Jim Lanik
                                      regarding documents for Schedules. (Work applicable to ALL CAH
                                      Hospitals).
5/3/2019    Adams III, Rayford K.     Voice-mail from and telephone conference with Jennifer Lyday regarding        1.60    $880.00
                                      general status of cases (.5); Review and revise consent order on
                                      application to employ Spilman (.9) ; e-mail to Margie Lynch regarding
                                      same.(.2) (Work applicable to ALL CAH Hospitals).

5/6/2019    Adams III, Rayford K.     Review e-mails regarding information about the hospitals. (Work               0.30    $165.00
                                      applicable to ALL CAH Hospitals).
5/6/2019    Grace, Dawnielle Y.       Telephone conference with Trustee resource Jenni Upenieks, Trip               0.20      $40.00
                                      Adams, and Katherine Brewer regarding information needed to fill
                                      Schedules and Statement of Financial Affairs.(Work applicable to ALL
                                      CAH Hospitals),
5/6/2019    Adams II I, Rayford K.    Telephone conference with Jenni Upenieks (with Kathy Brewer and               0.20     $110.00
                                      Dawnielle Grace) regarding strategy and logistics for obtaining records for
                                      Schedules and SOFAs. (Work applicable to ALL CAH Hospitals).

5/6/2019    Adams III, Rayford K.     Follow-up on consent order for application to employ Spilman (.4); e-mail     1.50     $825.00
                                      exchange with Margie Lynch regarding consent order (.3); revise affidavit
                                      for application to employ (.8). (Work applicable to ALL CAH Hospitals).
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 5/6/2019   Adams Ill, Rayford K.    E-mails to Jenni Upenieks regarding information regarding Schedules            0.40    $220.00
                                    and inquiry about banks used by CAH Hospitals.(Work applicable to ALL
                                    CAH Hospitals).
 5/7/2019   Adams Ill, Rayford K.    Discussions with Christy Peterson regarding finalizing pleadings for filing.   0.40    $220.00
                                    (Work applicable to ALL CAH Hospitals).
 5/7/2019   Adams Ill, Rayford K.    E-mail to Jorge Perez regarding his obligations to review Schedules and        0.30    $165.00
                                    appear at the 341 meetings. (Work applicable to ALL CAH Hospitals).

 5/7/2019   Adams Ill, Rayford K.    E-mail to Lisa Payne regarding consent order and need to appear                0.20    $110.00
                                    tomorrow at hearings. (Work applicable to ALL CAH Hospitals).
 5/7/2019   Adams Ill, Rayford K.    Consultations with Kathy Brewer and Dawnielle Grace regarding                  0.50    $275.00
                                     preparation of Schedules in the cases. (Work applicable to ALL CAH
                                     Hospitals).
 5/7/2019   Adams Ill, Rayford K.    Review and finalize consent orders, affidavits, and disclosure of              1.00    $550.00
                                     compensation. (Work applicable to ALL CAH Hospitals).
 5/7/2019   Adams III, Rayford K.    Additional revisions to consent orders on employment, 2016 disclosure,         1.70    $935.00
                                     and application to be employed in the second Fairfax case, (Work
                                     applicable to ALL CAH Hospitals).
 5/7/2019   Adams Ill, Rayford K.    Review documents from Waldrep Dropbox account(from Noel Mijares).              0.80    $440.00
                                    (Work applicable to ALL CAH Hospitals).
 5/7/2019   Adams Ill, Rayford K.    E-mails regarding data room information and access (.3); Review                0.70    $385.00
                                     documents uploaded to data room by Jenni Upenieks.(.0) (Work
                                     applicable to ALL CAH Hospitals).
 5/8/2019   Adams Ill, Rayford K.    Discussions with Kathy Brewer and Dawnielle Grace regarding various            0.40    $220.00
                                     q uestions for the Schedules. (Work applicable to ALL CAH Hospitals).

 5/8/2019   Adams Ill, Rayford K.    E-mail to Jorge Perez regarding call tomorrow morning and items needed         1.20    $660.00
                                    for completion of Schedules (.4); Telephone conference with Frank Smith
                                     regarding Jorge Perez's appearance at the 341 meetings.(.8)(Work
                                    applicable to ALL CAH Hospitals).
 5/8/2019   Grace, Dawnielle Y.      Research regarding ownership interests in the hospitals, (Work                 1.20    $240.00
                                    applicable to ALL CAH Hospitals).
 5/8/2019   Adams Ill, Rayford K.    Discussion with Dawnielle Grace regarding specific questions on SOFAs.         0.30    $165.00
                                    (Work applicable to ALL CAH Hospitals).
 5/8/2019   Grace, Dawnielle Y.      E-mail to Trustee correspondent Jenni Upenieks regarding Board of              0.20     $40.00
                                    Directors as of the petition dates for each hospital. (Work applicable to
                                    ALL CAH Hospitals).
 5/8/2019   Adams Ill, Rayford K.   Telephone conference with Frank Smith regarding status of Schedules             2.30   $1,265.00
                                    and Jorge Perez's appearance at the 341 meetings. (Work applicable to
                                    ALL CAH Hospitals).
5/8/2019    Adams Ill, Rayford K.   Telephone conference with Paul Nusbaum regarding Schedule                       2.30   $1,265.00
                                    preparation; Discussion with staff regarding progress on completion of
                                    Schedules. (Work applicable to ALL CAH Hospitals).

5/8/2019    Grace, Dawnielle Y.     Conducted a docket search for each hospital regarding clerks requests in        0.30     $60.00
                                    preparation for filing. (Work applicable to ALL CAH Hospitals).

5/8/2019    Adams Ill, Rayford K.   Telephone conference with Paul Nusbaum regarding information for the            0.70    $385.00
                                    Schedules, (Work applicable to ALL CAH Hospitals).
5/8/2019    Grace, Dawnielle Y.     Correspondence and research with Kim Taylor and other Spilman                   0.50    $100.00
                                    resources regarding lawsuits within relevant timeframe for statement of
                                    financial affairs reporting. (Work applicable to ALL CAH Hospitals).

5/9/2019    Patton, Jeffrey D.      Office conference and review and respond to multiple a-mails regarding          0.60    $186.00
                                    case status and pending issues. (Work applicable to ALL CAH
                                    Hospitals).
5/9/2019    Adams Ill, Rayford K.   Discussions with Dawnielle Grace and Kathy Brewer regarding status of           1.40    $770.00
                                    Schedules (4); review drafts of Schedules.(1.0) (Work applicable to ALL
                                    CAH Hospitals).
5/9/2019    Brewer, Katherine A.    Prepare for and attend conference call with client regarding preparation        0.80     $92.00
                                    and submission of Schedules for each case. (Work applicable to ALL
                                    CAH Hospitals).
5/9/2019    Adams Ill, Rayford K.   Numerous discussions with Kathy Brewer and Dawnielle Grace regarding            1.10    $605.00
                                    finalizing Schedules and SOFAs (.4); reivew information regarding
                                    Schedules.(.7)(Work applicable to ALL CAH Hospitals).

5/9/2019    Grace, Dawnielle Y.     Document/Contract Review and information gathering for Schedules and            3.40    $680.00
                                    statement of financial affairs for hospitals: Washington, Oswego, Prague,
                                     1-70, Fairfax, Horton and Haskell. (Work applicable to ALL CAH
                                    Hospitals).
5/9/2019    Adams Ill, Rayford K.   Further review of information for all Schedules and SOFAs. (Work                2.20   $1,210.00
                                    applicable to ALL CAH Hospitals).
5/9/2019    Adams Ill, Rayford K.   Conference call with Jorge Perez, Ernie Fesser, Robert Freire, and Amy          1.00    $550.00
                                    Murphy(Empower)(with Dawnielle Grace and Kathy Brewer) regarding
                                    information for Schedules and SOFAs. (Work applicable to ALL CAH
                                    Hospitals),
5/10/2019   Grace, Dawnielle Y.     Finalized first draft of all Statement of Financial Affairs for hospitals:      4.00    $800.00
                                    Washington, Oswego, Prague, 1-70, Fairfax, Horton, and Haskell;(Work
                                    applicable to ALL CAH Hospitals).
5/10/2019   Adams III, Rayford K.   Discussion with Dawnielle Grace regarding status of Schedules (.4);             1.40    $770.00
                                    discussions with Kathy Brewer regarding Schedules (.4); e-mail to Margie
                                    Lynch regarding status of Schedules, Jorge's hospitalization (.2); e-mail
                                    to Jorge Perez and Ernie Fesser regarding status.(.4) (Work applicable
                                    to ALL CAH Hospitals).
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 5/10/2019    Grace, Dawnielle Y.      Final edits per Trip Adams,to Statement of Financial Affairs and              2.20     $440.00
                                       attachments for Washington, Oswego, Prague, 1-70, Fairfax, Horton and
                                       Haskell and reformatted and added a year for gross revenue. (Work
                                       applicable to ALL CAH Hospitals).
 5/10/2019    Adams III, Rayford K.    Discussion with Dawnielle Grace regarding updating litigation list for        0.20     $110.00
                                       SOFAs. (Work applicable to ALL CAH Hospitals).
 5/10/2019    Adams III, Rayford K.    Telephone conference with Frank Smith to discuss status of pending and        0.80     $440.00
                                       closed litigation for inclusion in SOFAs. (Work applicable to ALL CAH
                                       Hospitals).
 5/10/2019    Adams III, Rayford K.    Numerous discussions with Dawnielle Grace and Kathy Brewer regarding          3.30   $1,815.00
                                       status of completion of all Schedules (.9); review latest drafts of
                                       Schedules and SOFAs.(2.4) (Work applicable to ALL CAH Hospitals).

 5/13/2019    Adams III, Rayford K.    Telephone conference with Margie Lynch regarding Jorge's inability to        0.60      $330.00
                                       travel and 341 meetings on Friday (.3); e-mail to Jorge Perez and Ernie
                                       Fesser regarding appearances at 341 meetings.(.3) (Work applicable to
                                       ALL CAH Hospitals).
 5/13/2019    Adams III, Rayford K.    Review e-mail from Margie Lynch regarding status of 341 meetings (.1); e•    0.70      $385.00
                                       mail to Jorge Perez and Ernie Fesser regarding 341 meetings on Friday
                                      (.2); telephone conference with Ernie Fesser (with Kathy Brewer)
                                       regarding Schedules and 341 meetings.(.4)(Work applicable to ALL
                                       CAH Hospitals).
 5/13/2019    Adams III, Rayford K.    Review e-mall and documents from Jorge Perez regarding medical               0.70      $385.00
                                       condition and inability to travel (.2); voicemail to Tom Waldrep regarding
                                       341 issues and Jorge's medical condition (.1); Telephone conference with
                                       Jorge Perez regarding medical condition and strategy for engaging the
                                       BA.(.4) (Work applicable to ALL CAH Hospitals).

5/13/2019     Grace, Dawnielle Y.      Draft HIPAA Authorization Form. (Work applicable to ALL CAH                  0.70      $140.00
                                       Hospitals).

5/14/2019     Adams III, Rayford K.    Several conferences with Kathy Brewer regarding status of Schedules          0.90      $495.00
                                      (.4); review drafts of Schedules.(.5)(Work applicable to ALL CAH
                                       Hospitals).
5/14/2019    Adams III, Rayford K.     Telephone conference with Ernie Fesser and e-mail to Ernie Fesser            0.50      $275.00
                                       regarding 341 meeting on Friday. (Work applicable to ALL CAH
                                       Hospitals).
5/14/2019    Adams III, Rayford K.     Review final versions of Schedules and SOFAs. (Work applicable to ALL        0.70      $385.00
                                      CAH Hospitals).
5/15/2019    Adams III, Rayford K.    Telephone conference with Margie Lynch regarding concerns about               0.40     $220.00
                                      status of cases (.2); discussions with Kathy Brewer and Dawnielle Grace
                                       regarding final filings of Schedules.(.2) (Work applicable to ALL CAH
                                      Hospitals).
5/15/2019    Adams III, Rayford K.    Discussion with Kathy Brewer regarding status of Schedules and review         1.30     $715.00
                                      drafts of Schedules. (Work applicable to ALL CAH Hospitals).

5/15/2019    Adams III, Rayford K.     E-mail exchange with Ernie Fesser regarding 341 meetings on Friday           0.50     $275.00
                                      (.3); e-mail to staff regarding preparation for 341 meetings. (.2) (Work
                                       applicable to ALL CAH Hospitals).
5/15/2019    Adams III, Rayford K.     Review status of show cause hearing; draft response to show cause            2.60    $1,430.00
                                      orders. (Work applicable to ALL CAH Hospitals).
5/16/2019    Adams Ill, Rayford K.     Review Schedules to prep for 341 meetings. (Work applicable to ALL           0.20     $110.00
                                      CAH Hospitals).
5/16/2019    Adams III, Rayford K.    Telephone conference with John Van Swearingen regarding meeting on            0.20     $110.00
                                       Monday to discuss trustee's testimony at hearing. (Work applicable to
                                      ALL CAH Hospitals).
5/16/2019    Adams III, Rayford K.    Review and reply to e-mail from Margie Lynch regarding logistics for 341      0.30     $165.00
                                       meetings tomorrow; e-mail to Jorge Perez, Ernie Fesser, and Frank
                                      Smith regarding same. (Work applicable to ALL CAH Hospitals).

5/16/2019    Adams III, Rayford K.     Review and organize Schedules for 341 meetings in Raleigh tomorrow.          1.30     $715.00
                                      (Work aoolicable to ALL CAH Hospitals).
5/16/2019    Brewer, Katherine A.      Receipt of e-mail from Bankruptcy Court regarding deficient documents        0.30      $34.50
                                      and discussion with Trip Adams regarding same. (Work applicable to
                                      ALL CAH Hospitals).
5/16/2019    Adams III, Rayford K.     E-mail to Ernie Fesser regarding orders to appear. (Work applicable to       0.10      $55.00
                                      ALL CAH Hospitals).
5/17/2019    Adams 111, Rayford K.     Discussion with Ernie Fesser regarding 341 meeting testimony (.5);           3.80    $2,090.00
                                      telephone conference with Jorge Perez and Ernie Fesser regarding 341
                                       meeting testimony (.3); prepare for 341 meeting in all cases.(3.0) (Work
                                      applicable to ALL CAH Hospitals).
5/17/2019    Adams III, Rayford K.    Travel to Raleigh and return (attend 341 meetings). (Travel reduced by        2.60     $715.00
                                      half; Work applicable to ALL CAH Hospitals; Reduced by One-Half).

5/20/2019    Adams III, Rayford K.     Review draft consent order for continuance of Wednesday hearings; e-         0.60     $330.00
                                       mail to David Haidt regarding suggested edit to order.(Work applicable to
                                       ALL CAH Hospitals).
5/20/2019    Adams III, Rayford K.     Review all e-mails from Friday regarding CAH matters. (Work applicable       0.50     $275.00
                                      to ALL CAH Hospitals),
5/21/2019    Adams III, Rayford K.    Review e-mails regarding rescheduling hearings and discovery Schedule.        0.20     $110.00
                                      (Work applicable to ALL CAH Hospitals).
5/21/2019    Adams III, Rayford K.     Discussion with Kathy Brewer regarding updating matrices and creditor        0.40     $220.00
                                      lists. (Work applicable to ALL CAH Hospitals).
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     5/21/2019         Adams Ill, Rayford K.    Discussions with Kathy Brewer and Dawnielle Grace regarding next steps         0.80           $440.00
                                                in updating Schedules and beginning fee application process. (Work
                                                applicable to ALL CAH Hospitals).
     5/21/2019         Adams Ill, Rayford K.    E-mail to counsel for trustee regarding background of STB work in              0.20           $110.00
                                                litigation against predatory lenders to hospitals,(Work applicable to ALL
                                                CAH Hospitals).
     5/23/2019         Adams Ill, Rayford K.    Download and begin to review numerous documents from Jorge Perez               1.50           $825.00
                                               (from Matt Slack) related to MCA loans. (Work applicable to ALL CAH
                                                Hospitals).
     5/23/2019         Adams Ill, Rayford K.    Reply to e-mail from Mary Ann Pustejovsky(US DOL) regarding                    0.50           $275.00
                                                subpoenas; draft e-mail to debtor parties regarding scope of subpoena
                                                document request.(Work applicable to ALL CAH Hospitals).
     5/23/2019         Adams Ill, Rayford K.    Review e-mail from John Van Swearingen regarding his review of                 0.40           $220.00
                                                payments to Merchant Cash Advance lenders; review and revise MCA
                                                spreadsheet; e-mail to various debtor parties regarding locating
                                                documents for MCA loans. (Work applicable to ALL CAH Hospitals).

     5/23/2019         Adams Ill, Rayford K.   Telephone conference with John Van Swearingen regarding status of               0.20           $110.00
                                               lease payments. (Work applicable to ALL CAH Hospitals).

     5/23/2019         Adams III, Rayford K.    Discussion with Kathy Brewer regarding status of clean-up of creditor          0.10            $55.00
                                                matrices(Work applicable to ALL CAH Hospitals).
     5/28/2019         Walls, Thomas E.         Reviewed Merchant Cash Advance Lender documentation and complied               2.00           $250.00
                                                list of obligations and entities named in each agreement.(Work
                                                applicable to ALL CAH Hospitals).
     5/29/2019         Adams Ill, Rayford K.    Review and calendar e-mails regarding telephonic scheduling hearing on         0.10            $55.00
                                                June 4.(Work applicable to ALL CAH Hospitals).
     5/29/2019         Adams Ill, Rayford K.    Conference with Dawnielle Grace and Kathy Brewer regarding remaining           0.60           $330.00
                                                issues (fee applications and Schedule and matrix updates).(Work
                                                applicable to ALL CAH Hospitals).
     5/30/2019         Adams Ill, Rayford K.    Review and reply to e-mails from John Van Swearingen regarding MCA             0.40           $220.00
                                                loan documents (.2); review status of MCA documents.(.2) (Work
                                                applicable to ALL CAH Hospitals).
      6/4/2019         Adams III, Rayford K.    Review e-mails from Jenny Gorman and Kathy Brewer regarding                    0.70           $385.00
                                                additional modifications of secured creditor lists in all cases;(.3)
                                                discussion with Kathy Brewer regarding status of schedule amendments.
                                               (.4)(Work applicable to ALL CAH Hospitals).
     6/11/2019         Brewer, Katherine A.     U pload loan documents to FTP site for sharing with Trustee. (Work             0.30            $34.50
                                                applicable to ALL CAH Hospitals).
     6/13/2019         Grace, Dawnielle Y.      Research (online and via communication with clerk) regarding procedure         0.50           $100.00
                                                changes for U.S. Bankruptcy Court for the Eastern District of North
                                                Carolina. (Work applicable to ALL CAH Hospitals).

     6/14/2019         Grace, Dawnielle Y.     Discussion with Trip Adams regarding phone inquiry from potential               0.20            $40.00
                                               creditor(Ernest Sanders); call to potential creditor to advice regarding the
                                                bankruptcy website and necessity for potential attorney representation
                                               (VM). (Work applicable to ALL CAH Hospitals).
     6/19/2019         Brewer, Katherine A.    Receipt of vehicle information from Trustees office with instructions in        0.40            $46.00
                                               inclusion of same into schedules and questions regarding same. (Work
                                               applicable to ALL CAH Hospitals).
                                               Total Fees:                                                                    176.10        $77,960.50
Timekeeper Summary

        Name          Timekeeper Title                                            Hours                                         Rate           Amount
Adams Ill, Rayford K.         Member                                              122.50                                      $550.00       $67,375.00
Adams III, Rayford K          Member                                               8.10                                       $275.00        $2,227.50
Macla, Alexander              Member                                               0.70                                       $475.00          $332.50
Patton, Jeffrey D.              Member                                            0.60                                        $310.00          $186.00
Cook, Lindsay J.               Associate                                          6.10                                        $225.00        $1,372.50
Grace, Dawnielle Y.            Associate                                         24.30                                        $200.00        $4,860.00
Walls, Thomas E.               Law Clerk                                          2.00                                        $125.00          $250.00
Brewer, Katherine A.           Paralegal                                          11.8                                        $115.00        $1,357.00
                       Total                                                     176.10                                                     $77,960.50


    Cost Detail

        Date                                                                Description                                       Amount
3/11/2019                                      Copies                                                                               $1.75
3/14/2019                                      Postage                                                                              $7.15
3/15/2019                                      Postage                                                                            $10.00
3/18/2019                                      Postage                                                                            $21.00
3/18/2019                                      Postage                                                                            $20.50
3/20/2019                                      Pacer Service Center Court Documents                                               $14.60
3/21/2019                                      Postage                                                                            $13.65
3/21/2019                                      Postage                                                                            $13.65
3/21/2019                                      Pacer Service Center Court Documents                                                $9.50
3/22/2019                                      Copies                                                                              $1.50
3/22/2019                                      Pacer Service Center Court Documents                                                $4.90
3/26/2019                                      Pacer Service Center Court Documents                                                $0.30
3/27/2019                                      Postage                                                                             $0.95
3/27/2019                                      Postage                                                                             $7.35
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3/27/2019                 Postage                                                                $43.05
3/27/2019                 Pacer Service Center Court Documents                                   $4.30
3/27/2019                 Postage                                                               $19.00
3/29/2019                 Pacer Service Center Court Documents                                   $1.70
4/2/2019                  Postage                                                                $29.00
4/2/2019                  Postage                                                                $30.45
4/2/2019                  Postage                                                               $30.45
4/2/2019                  Postage                                                                $30.45
4/2/2019                  Postage                                                                $27.55
4/4/2019                  Postage                                                                $29.45
4/5/2019                  Phone call to (919)602-3535 Morrisville, NC                             $2.10
4/5/2019                  Postage                                                                $63.05
4/5/2019                  Copies                                                                  $0.75
4/5/2019                  Copies                                                                  $0.75
4/5/2019                  Copies                                                                  $0.75
4/5/2019                  Postage                                                                $48.50
4/5/2019                  Copies                                                                  $1.25
4/5/2019                  Pacer Service Center Court Documents                                    $7.00
4/8/2019                  Phone call to (704)780-1208 Charlotte, NC                               $0.90
4/9/2019                  Postage                                                                $13.65
4/9/2019                  Phone call to (405) 382-1510 Seminole, OK                               $0.90
4/9/2019                  Pacer Service Center Court Documents                                    $2.10
4/9/2019                  Postage                                                                $59.50
4/15/2019                 Phone call to (919) 334-3885 Raleigh, NC                                $0.15
4/15/2019                 Pacer Service Center Court Documents                                    $1.90
4/15/2019                 Phone call to (919) 856-4847 Raleigh, NC                                $0.15
4/16/2019                 Phone call to (407) 347-9988 Winter G., FL                              $0.15
4/16/2019                 Postage                                                                $13.00
4/16/2019                 Postage                                                                 $1.50
4/16/2019                 Pacer Service Center Court Documents                                    $5.20
4/16/2019                 Pacer Service Center Court Documents                                    $7.10
4/17/2019                 Postage                                                                 $1.50
4/17/2019                 Postage                                                                $17.00
4/17/2019                 Postage                                                                $40.50
4/17/2019                 Postage                                                               $156.00
4/17/2019                 Postage                                                               $148.00
4/17/2019                 Postage                                                                $27.00
4/17/2019                 Postage                                                                $87.00
4/17/2019                 Postage                                                               $109.50
4/17/2019                 Postage                                                                $45.50
4/17/2019                 Postage                                                                $71.50
4/17/2019                 Mileage Adams, Rayford K, Ill-Raleigh 4/17/19 Attend 341 Meeting of   $114.84
                          Creditors(198 Miles @ .58)
4/17/2019                 Postage                                                               $171.50
4/17/2019                 Postage                                                                 $1.30
4/17/2019                 Pacer Service Center Court Documents                                   $11.20
4/19/2019                 Phone call to (919) 334-3885 Raleigh, NC                                $0.30
4/22/2019                 Pacer Service Center Court Documents                                    $2.40
4/23/2019                 Postage                                                                 $1.50
4/29/2019                 Pacer Service Center Court Documents                                    $2.20
4/30/2019                 Pacer Service Center Court Documents                                    $5.30
5/1/2019                  Pacer Service Center Court Documents                                    $3.70
5/1/2019                  Pacer Service Center Court Documents                                    $0.40
5/2/2019                  Phone call to (816)256-7688 Kansas C MO                                 $4,20
5/2/2019                  Meal Expenses Adams, Rayford K., Ill Lunch Meeting 5/2/19 with CAH    $100.73
                          Parties
5/3/2019                  Pacer Service Center Court Documents                                    $0.70
5/3/2019                  Pacer Service Center Court Documents                                    $0.10
5/6/2019                  Phone call to (816) 256-7688 Kansas C MO                                $3.45
5/7/2019                  Phone call to (816) 256-7688 Kansas C MO                                $1.35
5/7/2019                  Phone call to (816)256-7688 Kansas C MO                                 $3.90
5/7/2019                  Pacer Service Center Court Documents                                    $0.30
5/7/2019                  Pacer Service Center Court Documents                                    $1.90
5/7/2019                  Pacer Service Center Court Documents                                    $4.20
5/8/2019                  Copies                                                                 $54.25
5/8/2019                  Copies                                                                  $0.50
5/8/2019                  Postage                                                                $58.40
5/8/2019                  Postage                                                                 $1.90
5/8/2019                  Postage                                                                $48,00
5/8/2019                  Copies                                                                $124.50
5/8/2019                  Postage                                                                $29.00
5/8/2019                  Postage                                                                 $3.90
5/8/2019                  Postage                                                                 $4.35
5/8/2019                  Phone call to (919) 420-0941 Raleigh, NC                                $0.30
5/8/2019                  Phone call to (252)793-7654 Plymouth, NC                                $0.15
5/8/2019                  Pacer Service Center Court Documents                                    $0.10
5/8/2019                  Pacer Service Center Court Documents                                    $2.10
5/8/2019                  Pacer Service Center Court Documents                                    $1.10
5/9/2019                  Phone call to (918)591-5215 Tulsa OK                                    $0.15
5/9/2019                  Phone call to (615) 252-2307 Nashville TN                               $0.30
5/9/2019                  Phone call to (918)591-5215 Tulsa OK                                    $0.30
5/9/2019                  Pacer Service Center Court Documents                                    $0.30
5/9/2019                  Pacer Service Center Court Documents                                   $11.70
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5/9/2019                      Phone call to (918)582-1211 Tulsa OK                                               $0.30
5/10/2019                     Phone call to (919) 334-3885 Raleigh, NC                                           $0.15
5/10/2019                     Phone call to (305) 282-2533 Perrine FL                                            $0.15
5/10/2019                     Meal Expenses Brewer, Katherine A - Working Lunch 5/10/19 BK                      $22.93
                              Schedules
5/10/2019                     Pacer Service Center Court Documents                                               $0.10
5/10/2019                     Pacer Service Center Court Documents                                               $3.10
5/13/2019                     Pacer Service Center Court Documents                                               $1.00
5/13/2019                     Pacer Service Center Court Documents                                               $0.10
5/14/2019                     Pacer Service Center Court Documents                                               $1.40
5/15/2019                     Pacer Service Center Court Documents                                               $0,10
5/15/2019                     Pacer Service Center Court Documents                                               $5.50
5/15/2019                     Pacer Service Center Court Documents                                               $0.20
5/17/2019                     Pacer Service Center Court Documents                                               $0.10
5/17/2019                     Parking/Tolls Adams, Rayford K., Ill - Raleigh, NC 5/17/19 attend meeting          $8.00
                              of creditors
5/17/2019                     Mileage Adams, Rayford K, Ill-Raleigh 5/17/19 Attend Meeting of                   $96.86
                              Creditors(167 Miles GO .58)
5/17/2019                     Pacer Service Center Court Documents                                               $0.40
5/20/2019                     Phone call to (212)433-2298 New York NY                                            $0.30
5/20/2019                     Phone call to (509)412-1356                                                        $1.50
5/20/2019                     Phone call to (919)465-2545 Cary NC                                                $0.15
5/20/2019                     Phone call to (919) 334-3807 Raleigh, NC                                           $0.15
5/20/2019                     Phone call to (716)848-1233 Buffalo NY                                             $0.45
5/20/2019                     Phone call to (212)433-2296 New York NY                                            $0.75
5/20/2019                     Pacer Service Center Court Documents                                               $0.10
5/20/2019                     Pacer Service Center Court Documents                                              $20.50
5/20/2019                     Pacer Service Center Court Documents                                               $0.60
5/20/2019                     Pacer Service Center Court Documents                                               $2.70
5/21/2019                     Pacer Service Center Court Documents                                               $0.20
5/21/2019                     Pacer Service Center Court Documents                                               $2.20
5/21/2019                     STB Visa - USBC-NC; Filing fee for Amended Matrices                               $31.00
5/21/2019                     STB Visa - USBC-NC; Filing fee for Amended Matrices                               $31.00
5/21/2019                     STB Visa - USBC-NC; Filing fee for Amended Matrices                               $31.00
5/22/2019                     Phone call to(919)334-3885 Raleigh, NC                                             $0.15
5/22/2019                     Phone call to (918)582-1211 Tulsa OK                                               $0.45
5/22/2019                     Pacer Service Center Court Documents                                               $0.10
5/22/2019                     Pacer Service Center Court Documents                                               $0.30
5/22/2019                     STB Visa - BK Attorney Services, Inc.; service fee for Washington 341            $187.20
                              Notices
5/22/2019                     STB Visa - BK Attorney Services, Inc.;filing fee for adding creditors to the      $31.00
                              case(Oswego)
5/22/2019                     STB Visa - BK Attorney Services, Inc.;filing fee for adding creditors to the      $31.00
                              case (Haskell)
5/22/2019                     STB Visa - BK Attorney Services, Inc.;filing fee for adding creditors to the      $31.00
                              case (1-70))
5/23/2019                     Pacer Service Center Court Documents                                               $2.80
5/23/2019                     Pacer Service Center Court Documents                                               $0.10
5/23/2019                     Pacer Service Center Court Documents                                               $0.30
5/23/2019                     STB Visa - BK Attorney Services, Inc.; service fee for Horton 341 Notices         $94.40

5/23/2019                      STB Visa - BK Attorney Services, Inc.; Certificate of Service (Haskell)          $80.80

5/23/2019                      STB Visa - BK Attorney Services, Inc.; service fee for 1-70 341 Notices          $94.40

5/23/2019                      STB Visa - BK Attorney Services, Inc.; service fee for Oswego 341                $51.20
                               Notices
5/23/2019                      STB Visa - BK Attorney Services, Inc.; Certificate of Service (Prague)           $78.40

5/30/2019                      Phone call to (251)461-0821 Mobile AL                                             $0.15
5/30/2019                      Call to (251)461-0821                                                             $0.15
5/30/2019                      Pacer Service Center Court Documents                                              $1.60
5/31/2019                      Document Reproduction                                                            $13.00
5/31/2019                      Copies                                                                           $13.00
                               Total Expenses                                                                $3,057.31

                                          TOTAL FEES AND EXPENSES (applicable to all hospitals): $           81,017.81

                          Divided by 8 CAH Hospitals and 1/8 of total added to each fee application: $       10,127.23
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                                            Exhibit C

                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                             GREENVILLE DIVISION

IN RE:                               )
                                     )
CAH ACQUISITION COMPANY #1,LLC d/b/a )                        Case No. 19-00730-5-JNC
WASHINGTON COUNTY HOSPITAL,          )
                                     )                        Chapter 11
          Debtor.                    )
                                     )

    BIOGRAPHICAL INFORMATION FOR SPILMAN THOMAS & BATTLE,PLLC
                   ATTORNEYS AND SUPPORT STAFF

        Rayford K. Adams III is a member of Spilman Thomas & Battle, PLLC and heads the
firm's bankruptcy practice in North Carolina. His primary areas of practice are bankruptcy,
creditors' rights, and commercial disputes and workouts. He has almost forty years of experience
in all aspects of bankruptcy matters and has represented creditors, lessors, committees, debtors,
guarantors, and trustees in a broad range of industries and matters, including bankruptcy appeals
in the United States District Court, the Fourth Circuit Court of Appeals, and the Supreme Court
of the United States. He has significant experience representing hospitals and health care entities
in bankruptcy cases and transactions. He is a board-certified specialist in business and consumer
bankruptcy law by the North Carolina State Bar Board of Legal Specialization. He has chaired
the Bankruptcy Specialization Committee of the North Carolina State Bar Board of Legal
Specialization and is a member of the American Bankruptcy Institute. Mr. Adams has served as a
Council member and past treasurer of the Bankruptcy Section Council of the North Carolina Bar
Association. He formerly served as the standing Chapter 13 trustee for the Middle District of
North Carolina (Winston-Salem Division). He has been an Adjunct Professor of Law at Elon
University School of Law, where he taught the Bankruptcy course from the law school's
founding through 2016. He is recognized regularly in North Carolina Super Lawyers and Legal
Elite publications in the area of business bankruptcy law. Mr. Adams received his B.S. degree in
 1972 from Davidson College and his J.D. in 1979 from Wake Forest University School of Law.

         Jeffrey D. Patton is a member of Spilman Thomas & Battle, PLLC. His primary areas of
 practice are trial work and complex commercial litigation, labor and employment law, class
 actions, trademark and patent litigation, health care law, and banking and consumer protection
 litigation. He is a member of the American Bar Association, Labor and Employment Law
 Section, Employment Rights and Responsibilities Committee. He is also a member of the North


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Carolina Bar Association, Labor and Employment Law Section. He received his B.A. degree
from The College of William & Mary in 1991 and his J.D. from Wake Forest University in 1994.

       Alexander Macia is a member of Spilman Thomas & Battle, PLLC. His primary areas of
practice are general litigation, administrative and government relations law, and mine safety.
Mr. Macia was previously the President of the West Virginia Bar Association. He received his
B.A. degree summa cum laude from West Virginia University in 1985 and his J.D. from George
Washington University with honors in 1991.

        Bryan G. Scott is a member of Spilman Thomas & Battle, PLLC. His primary areas of
practice are construction law and litigation and commercial and business litigation, including
creditors' rights, banking and consumer protection litigation, insurance coverage, and intellectual
property litigation. He received his B.A. degree from Appalachian State University, magna cum
laude, in 2001. He received his J.D. from Wake Forest University in 2004 and graduated from
the University of Virginia School of Law Trial Advocacy College in 2012.

       Lindsay J. Cook is an associate with Spilman Thomas & Battle, PLLC. Her primary
areas of practice are corporate and transactional law. She is a member of Women in Construction
and the North Carolina Association of CPAs. She received her B.S.B.A. degree, summa cum
laude, with honors, Accounting and Economics from the University of South Carolina in 2012.
She received her M.Acc summa cum laude at the University of South Carolina in 2013 and her
J.D.,summa cum laude from the University of Tennessee College of Law in 2016.

       Dawnielle Y. Grace is an associate with Spilman Thomas & Battle, PLLC. Her primary
area of practice is general litigation with an emphasis on collections, bankruptcy and
employment. She is a member of the Forsyth County 21'District Bar, the North Carolina State
Bar and the American Bar Association. She received her BA in Political Science (International
Relations), Japanese Language and Literature, with honors, from Purdue University. She
received her M.B.A. in International Relations, with honors, from Benedictine University and
her J.D. from Wake Forest University School of Law.

       Gregory Cooper is a paralegal with Spilman Thomas & Battle, PLLC. He has twenty-
five years of advocacy experience in long-term care settings and hospitals, consumer finance and
disability services. He also worked as a lobbyist in the West Virginia Legislature for several
years. Employed by Legal Aid Society of West Virginia, Mountain State Justice, West Virginia
Advocates, and the Alzheimer's Association, as well as various local law firms. Mr. Cooper
received his Regents BA degree in 1991 from Glenville State College.

       Katherine A. Brewer is a paralegal with Spilman Thomas & Battle, PLLC. She joined
the firm in 2010 and has 24 years of experience providing paralegal support in all aspects of
simple and complex litigation matters. Ms. Brewer functions as the bankruptcy and special
projects paralegal.

      Christy S. Peterson is a paralegal with Spilman Thomas & Battle, PLLC. She received
her B.S. degree from Appalachian State University in 1998. She began her career at Wilson &
Iseman, LLP, where she spent 16 years developing her extensive skill set as a medical
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malpractice paralegal. In 2016, she joined Spilman Thomas & Battle, PLLC, where she assists
with bankruptcy and litigation matters.

       Kimberly L. Jones is a paralegal with Spilman Thomas & Battle, PLLC. She received
her associate degree in paralegal studies from Forsyth Technical Community College in 2007.
She joined the firm in 2009 and has 10 years of experience providing paralegal support on a
broad range of cases including, toxic tort, class actions, product liability, breach of contract,
medical monitoring and other complex litigation matters.

      Cecelia E. Stemple is a paralegal at Spilman Thomas & Battle, PLLC. She attended
UNC-Wilmington. She then worked for Shapiro & Ingle, LLC and Morris, Schneider & Prior.
She has 17 years of experience in foreclosures and title searching.




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                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                             GREENVILLE DIVISION


   IN RE:                                                   )
                                                            )
   CAH ACQUISITION COMPANY #1, LLC d/b/a                    )       Case No. 19-00730-5-JNC
   WASHINGTON COUNTY HOSPITAL,                              )
                                                            )       Chapter 11
                   Debtor.                                  )
                                                            )

 NOTICE OF INITIAL APPLICATION BY SPILMAN THOMAS & BATTLE,PLLC AS
        COUNSEL FOR THE DEBTOR FOR ALLOWANCE OF INTERIM
          COMPENSATION AND REIMBURSEMENT OF EXPENSES
                [MARCH 13, 2019 THROUGH JULY 31, 20191


          NOTICE IS HEREBY GIVEN that Spilman Thomas & Battle, PLLC (the
  "Debtor's Counsel"), has filed its Initial Application by Spilman Thomas & Battle, PLLC
   as Counselfor the Debtorfor Allowance ofInterim Compensation and Reimbursement of
  Expenses[March 13, 2019 through July 31, 2019)(the "Initial Application");
          FURTHER NOTICE IS HEREBY GIVEN that Debtor's Counsel has applied
  for compensation in the amount of $22,540.73 for fees and expenses, for the period of
   March 13, 2019 through July 31, 2019;
          FURTHER NOTICE IS HEREBY GIVEN that the Initial Application filed by
  Debtor's Counsel may be allowed provided no response and request for a hearing is made
   by a party-in-interest in writing to the Clerk of this Court within TWENTY-ONE (21)
  DAYS from the date of this notice; and
          FURTHER NOTICE IS HEREBY GIVEN,that if a response and a request for a
  hearing is filed by a party-in-interest in writing within the time indicated, a hearing will be
  conducted on this Initial Application thereto at a date, time, and place to be later set by the
   Court and all interested parties will be notified accordingly. If no request for a hearing is



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  timely filed, the Court may rule on the Initial Application thereto ex parte without further
  notice.
            Dated: September 17, 2019.

                                         Spilman Thomas & Battle, PLLC

                                         /s/ Rayford K Adams III
                                         Rayford K. Adams III(NC State Bar No. 8622)
                                         110 Oakwood Drive, Suite 500
                                         Winston-Salem, NC 27103
                                         Telephone: 336-725-4710
                                         Telefax: 336-725-4710
                                         tadams@spilmanlaw.com
                                         Attorneyfor the Debtor




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                                            29




                                CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system, which will send electronic notification of such filing to all

registered users of record, including the following:


                    Marjorie K. Lynch                             Thomas W. Waldrep, Jr.
                   434 Fayetteville St.                                 Waldrep LLP
                        Suite 640                              101 S Stratford Road, Suite 210
                   Raleigh, NC 27601                             Winston-Salem, NC 27104
                Bankruptcy Administrator                                   Trustee




Dated: September 17, 2019.
                                               /s/Rayford K. Adams III
                                              Rayford K. Adams III(NC Bar No. 8622)
                                              SPILMAN THOMAS & BATTLE,PLLC
                                              110 Oakwood Drive, Suite 500
                                              Winston-Salem, North Carolina 27103
                                              Telephone:(336)725-4710
                                              Facsimile:(336)725-4476
                                              tadams@spilmanlaw.com




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